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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

----------------------------------------------------------
THOMAS BAIRD, Individually and on Behalf :
of All Others Similarly Situated,                          :
                                                           : Civil Action No. ______________
                  Plaintiff,                               :
                                                           :
v.                                                         : JURY TRIAL DEMAND
                                                           :
MULTIMEDIA GAMES HOLDING                                   :
COMPANY, INC., STEPHEN J.                                  :
GREATHOUSE, STEPHEN P. IVES, NEIL E. :
JENKINS, MICHAEL J. MAPLES, SR.,                           :
JUSTIN A. ORLANDO, PATRICK J.                              :
RAMSEY, ROBERT D. REPASS, GLOBAL                           :
CASH ACCESS HOLDINGS, INC., and                            :
MOVIE MERGER SUB, INC.,                                    :
                                                           :
                  Defendants.                              :
---------------------------------------------------------- :

                                CLASS ACTION COMPLAINT


       1.      Plaintiff Thomas Baird (“Plaintiff”), by his attorneys, brings the following class

action on behalf of himself and all shareholders of Multimedia Games Holding Company, Inc.

(“Multimedia Games” or the “Company”), other than Defendants (defined below) and their

affiliates, against Multimedia Games, certain officers and members of Multimedia Games’ board

of directors (the “Board” or the “Individual Defendants”), Global Cash Access Holdings, Inc.

(“GCA” or “Global Cash”), and Movie Merger Sub, Inc. (“Merger Sub”) for breaching their

fiduciary duties in connection with GCA’s proposed acquisition of all the outstanding stock of

Multimedia Games (and/or aiding and abetting thereof). The allegations in this Complaint are

based on information and belief, including investigation of counsel and review of publicly

available information, except for Plaintiff’s own acts, which are alleged on personal knowledge.
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       2.      Multimedia Games is a Texas corporation headquartered in Austin, Texas. The

Company designs, manufactures, and distributes advanced gaming technology for the Native

American and commercial casino markets with product offerings in video slots, reel-spinning

slot machines, video lottery terminals, electronic scratch ticket systems, electronic instant lottery

systems, back-office systems, and bingo systems.

       3.      On September 8, 2014, Multimedia Games and GCA announced that they had

entered into a definitive Agreement and Plan of Merger (the “Merger Agreement”) under which

GCA will acquire all outstanding shares of Multimedia Games (the “Proposed Transaction” or

“Merger”). Pursuant to the Merger Agreement, Multimedia Games shareholders will receive

$36.50 in cash, without interest (the “Merger Consideration”), for each share of the Company’s

common stock they own. The Proposed Transaction is valued at $1.12 billion and is expected to

close in early 2015.

       4.      As described below, both the Merger Consideration that Multimedia Games’

shareholders stand to receive and the process by which Defendants propose to consummate the

Proposed Transaction are fundamentally unfair to Plaintiff and all other public shareholders of

the Company.

       5.      Tellingly, while the gaming industry as a whole has struggled in recent years as a

result of the global recession, Multimedia Games’ business has boomed. As one news report on

the Proposed Transaction states, “[t]he investment community’s opinion on Multimedia

Games has done a 180-degree turn over the past 36 months. The company’s revenue and

profit exceeded expectations every quarter.”1 And as another journalist covering the Proposed


1
  Howard Stutz, Once ignored, Multimedia Games now may see other suitors, LAS VEGAS REVIEW-
JOURNAL, September 17, 2014, http://www.reviewjournal.com/columns-blogs/inside-gaming/once-
ignored-multimedia-games-now-may-see-other-suitors.



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Transaction wrote, “unlike its peers, Multimedia sports a rock-solid balance sheet with $3 a

share in net cash, which could in time lead to a dividend initiation.”2 Indeed, some analysts

have valued the Company as high as $40 to $45 per share, significantly higher than the

consideration the Company’s shareholders stand to receive under the terms of the Merger

Agreement.3

          6.      In addition to failing to obtain fair consideration for the Company’s shareholders,

The Individual Defendants have exacerbated their breaches of fiduciary duty by agreeing to lock

up the Proposed Transaction with deal protection devices that unfairly favor GCA and

discourage other potential bidders from submitting a superior offer for the Company. These

preclusive devices include: (i) a non-solicitation provision that restricts the Board from soliciting

other potentially superior offers; (ii) an “information rights” provision, which provides GCA

with unfettered access to information about other potential proposals, gives GCA four business

days to negotiate a new deal with Multimedia Games in the event a competing offer emerges,

and provides GCA with the perpetual right to attempt to match any superior bid; and (iii) a

termination fee of $11 million if Merger Agreement is terminated in connection with the

Company entering into a definitive agreement with respect to a superior proposal prior to

October 8, 2014. However, in the event that a definitive agreement could not be finalized by that

date, which is likely given the short timeframe, the termination fee nearly triples to $32.5

million. These provisions conjunctively and improperly restrain the Board’s ability to act with




2
 David Englander, Multimedia Games Holdings: A Slot-Machine Maker Worth a Bet, BARRON’S,
September 6, 2014, http://online.barrons.com/news/articles/
SB51885783724964273656104580129901573015476.
3
    Id.



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respect to investigating and pursuing superior proposals and alternatives to the Proposed

Transaction.

       7.        Furthermore, in connection with the Proposed Transaction, on September 30,

2014 Multimedia Games filed a Preliminary Proxy Statement on Schedule 14A (“Proxy”) with

the U.S. Securities and Exchange Commission (“SEC”) that fails to provide material information

and contains materially misleading statements concerning the Proposed Transaction.               As

explained below, while the Proxy provides some detail about the sales process the Board

undertook, it fails to disclose a host of material information concerning the Proposed Transaction

including, among other things: (i) the process leading up to the consummation of the Merger

Agreement; and (ii) the data and key inputs underlying the financial analyses performed by

Wells Fargo Securities, LLC (“Wells Fargo”), Multimedia Games’ financial advisor in

connection with the Merger; and (iii) certain financial projections prepared by Multimedia

Games’ management and relied upon by Wells Fargo in rendering its opinion as to the fairness of

the Proposed Transaction to Multimedia Games’ shareholders (“Fairness Opinion”), including

but not limited to the free cash flows for Multimedia Games for fiscal years 2015 through 2019.

       8.        For these reasons and as set forth in detail herein, Plaintiff seeks to enjoin

Defendants from taking any steps to consummate the Proposed Transaction or, in the event the

Proposed Transaction is consummated, to recover damages resulting from the Individual

Defendants’ violations of their fiduciary duties of loyalty, good faith, due care, and candor.

                                 JURISDICTION AND VENUE

       9.        The Court has subject-matter jurisdiction over this action under 28 U.S.C. § 1332.

Plaintiff is a citizen of Ohio while Defendants are all citizens of other states, and the amount in

controversy exceeds $75,000. Indeed, the value of the Proposed Transaction is approximately

$1.12 billion.


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       10.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because

Multimedia Games maintains its primary place of business in this District.

                                            PARTIES

       11.     Plaintiff is, and has been at all relevant times, the owner of Multimedia Games

shares and has held such shares since prior to the wrongs complained of herein. Plaintiff is a

citizen of Ohio.

       12.     Multimedia Games is a Texas corporation with its corporate headquarters located

at 206 Wild Basin Road South, Building B, 4th Floor, Austin, Texas, 78746. The Company

develops and distributes gaming technology, and is a creator and supplier of comprehensive

systems, content and electronic gaming units for Native American and commercial casinos.

Multimedia Games’ common shares trade on the NASDAQ stock exchange under the symbol

“MGAM.”

       13.     Defendant Stephen J. Greathouse (“Greathouse”) has been a director of the

Company since April 2009 and has served as Chairman of the Board since March 2011.

Greathouse is a citizen of Nevada.

       14.     Defendant Stephen P. Ives (“Ives”) has been a director of the Company since

January 2014. Ives is a citizen of the United Kingdom.

       15.     Defendant Neil E. Jenkins (“Jenkins”) has been a director of the Company since

October 2006. Jenkins is a citizen of Illinois.

       16.     Defendant Michael J. Maples Sr. (“Maples”) has been a director of the Company

since August 2006. Maples is a citizen of Texas.

       17.     Defendant Justin A. Orlando (“Orlando”) has been a director of the Company

since April 2011. Orlando is a citizen of New York.




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       18.     Defendant Patrick J. Ramsey (“Ramsey”) has served as both Multimedia Games’

Chief Executive Officer (“CEO”) and a Company director since September 2010. Ramsey is a

citizen of Nevada.

       19.     Defendant Robert D. Repass (“Repass”) has been a director of the Company since

July 2002. Repass is a citizen of Texas.

       20.     Defendant Global Cash is a Delaware corporation with its corporate headquarters

in Las Vegas, Nevada. Global Cash provides cash, credit, and payment technology to casinos.

Global Cash’s products and services provide: (a) gaming establishment patrons access to cash

through a variety of methods, including automated teller machine cash withdrawals, credit card

cash access transactions, point-of-sale debit card transactions, check verification and warranty

services and money transfers; (b) integrated cash access devices and related services, such as slot

machine ticket redemption and jackpot kiosks to the gaming industry; (c) products and services

that improve credit decision making, automate cashier operations and enhance patron marketing

activities for gaming establishments; (d) compliance, audit and data solutions; and (e) online

payment processing solutions for gaming operators in states that offer intra-state, internet-based

gaming and lottery activities. Global Cash common shares are traded on the New York Stock

Exchange under the symbol “GCA.”

       21.     Merger Sub is a Texas corporation and a wholly-owned subsidiary of Global

Cash, and was created for purposes of effectuating the Proposed Transaction.

       22.     The Individual Defendants, Multimedia Games, Global Cash and Merger Sub are

collectively referred to as the “Defendants.”

             THE FIDUCIARY DUTIES OF THE INDIVIDUAL DEFENDANTS

       23.     By reason of the Individual Defendants’ positions with the Company as directors

and/or officers, said individuals are in a fiduciary relationship with Plaintiff and the other public


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shareholders of Multimedia Games and owe Plaintiff and the other members of the Class the

duties of good faith, fair dealing, loyalty, and candor.

          24.     By virtue of their positions as directors and/or officers of Multimedia Games, the

Individual Defendants, at all relevant times, had the power to control and influence, and did

control and influence and cause Multimedia Games to engage in the practices complained of

herein.

          25.     Each of the Individual Defendants is required to act in good faith, in the best

interests of the Company’s shareholders, and with due care. To diligently comply with these

duties, the directors of a corporation may not take any action that:

          a.      Adversely affects the value provided to the corporation’s shareholders;

          b.      Contractually prohibits them from complying with or carrying out their fiduciary

                  duties;

          c.      Discourages or inhibits alternative offers to purchase control of the corporation or

                  its assets; or

          d.      Will otherwise adversely affect their duty to search for and secure the best value

                  reasonably available under the circumstances for the corporation’s shareholders.

          26.     Plaintiff alleges herein that the Individual Defendants, separately and together, in

connection with the Proposed Transaction, violated duties owed to Plaintiff and the other public

shareholders of Multimedia Games, including their duties of loyalty, good faith, independence,

and candor.

                                   CLASS ACTION ALLEGATIONS

          27.     Plaintiff brings this action on his own behalf and as a class action pursuant to

Rule 23 of the Federal Rules of Civil Procedure on behalf of all holders of Multimedia Games

common stock who are being and will be harmed by Defendants’ actions described below (the


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“Class”).    Excluded from the Class are Defendants herein and any person, firm, trust,

corporation, or other entity related to or affiliated with any of the Defendants.

       28.          This action is properly maintainable as a class action because:

       a.           The Class is so numerous that joinder of all members is impracticable. As of July

                    24, 2014 there were over 29.6 million shares of Multimedia Games common stock

                    outstanding.   The holders of these shares are believed to be geographically

                    dispersed through the United States;

       b.           There are questions of law and fact which are common to the Class and which

                    predominate over questions affecting individual Class members. The common

                    questions include, inter alia, the following:

               i.          Whether the Individual Defendants have breached their fiduciary duties of
                           undivided loyalty, independence, due care, and/or candor with respect to
                           Plaintiff and the other members of the Class in connection with the
                           Proposed Transaction;

              ii.          Whether the Individual Defendants have breached their fiduciary duty to
                           secure and obtain the best price reasonable under the circumstances for the
                           benefit of Plaintiff and the other members of the Class in connection with
                           the Proposed Transaction;

             iii.          Whether the Individual Defendants have breached any of their fiduciary
                           duties to Plaintiff and to the other members of the Class in connection
                           with the Proposed Transaction, including the duties of good faith,
                           diligence, and fair dealing;

             iv.           Whether Multimedia Games, GCA, and Merger Sub aided and abetted the
                           Individual Defendants’ breaches of fiduciary duty;

              v.           Whether the Individual Defendants, in bad faith and for improper motives,
                           have impeded or erected barriers to discourage other offers for the
                           Company or its assets; and

             vi.           Whether Plaintiff and the other members of the Class would suffer
                           irreparable injury were the Proposed Transaction consummated.




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       c.      Plaintiff is an adequate representative of the Class, has retained competent

               counsel experienced in litigation of this nature, and will fairly and adequately

               protect the interests of the Class;

       d.      Plaintiff’s claims are typical of the claims of the other members of the Class and

               Plaintiff does not have any interests adverse to the Class;

       e.      The prosecution of separate actions by individual members of the Class would

               create a risk of inconsistent or varying adjudications with respect to individual

               members of the Class which would establish incompatible standards of conduct

               for the party opposing the Class; and

       f.      Defendants have acted on grounds generally applicable to the Class with respect

               to the matters complained of herein, thereby making appropriate the relief sought

               herein with respect to the Class as a whole.

                               SUBSTANTIVE ALLEGATIONS

A.     Multimedia Games’ Background & Recent Financial Performance

       29.     Founded in 1991, Multimedia Games develops and distributes gaming

technology. The Company creates and supplies comprehensive systems, content, and electronic

gaming units for Native American and commercial casinos. It also sells gaming units and

systems that feature proprietary game content and game themes licensed from others.           In

addition, the Company supplies the central determinant system for the video lottery terminals

(VLTs) installed at racetracks in the State of New York. The Company focuses on pursuing new

product development for commercial and tribal casinos and VLT markets. The Company’s

games include classic 3-reel games that provide players with traditional slot gaming experience;

video reel games; High Rise Games, which are participation slot games; and TournEvent, a slot




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tournament system that allows operators to switch from in-revenue gaming to out-of-revenue

tournaments.

        30.      TournEvent, the Company’s linked slot machine product that allows casinos to

run multiple tournaments, has received rave revues and is currently deployed in over 250 casinos

nationwide with over 4,000 gaming units as of June 30, 2014. Multimedia Games is also nearing

20,000 slot machines in the U.S. market, and has consistently taken casino floor space away

from its biggest competitors – IGT, Bally, and WMS – while its share price has increased. The

Company recently announced that it is unveiling its largest-ever and most diverse display of new

products, including 100 unique new games, at a major gaming industry convention being held

this year.

        31.      While the gaming industry as a whole has struggled in recent years, Multimedia

Games’ business and earnings have boomed. In the past year, amid a difficult environment, the

Company’s total number of installed games has increased by 8%, and its revenue and earnings

continue to move higher. Some analysts have predicted 25% growth for the Company over the

next year. Indeed, despite the challenges in the industry, Multimedia Games has grown faster

than its larger rivals as the Company expands into new lucrative markets.

        32.      On April 30, 2014, Multimedia Games announced impressive operating results for

its fiscal 2014 second quarter. Specifically, the Company reported that revenue rose 25% to

$58.2 million, and EBITDA increased by 28%, to a record $30.7 million. The Company also

announced that it had entered into a definitive merger agreement to acquire electronic table

games developer and distributor, PokerTek, Inc. (“PokerTek”), for a total consideration of

approximately $13 million. The Company expects the PokerTek acquisition to be accretive to its

financial results beginning in fiscal 2016.




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          33.    Commenting on the strong second quarter results, defendant Ramsey, the

Company’s CEO, stated:

          The results were driven by an impressive 88.6% year-over-year increase in unit
          sales as we sold 1,094 games, with continued strength in key markets such as
          Oklahoma, Washington and Nevada… our gaming operations business
          continues to perform, with revenue increasing 13.0% year over year to a
          quarterly record of $37.8 million in the fiscal 2014 second quarter. Our
          installed base of participation games rose 8.9% year-over-year and approximately
          1% on a quarterly sequential basis, and we ended the fiscal 2014 second quarter
          with a total of 12,752 recurring revenue units nationwide… These are exciting
          times for Multimedia Games as we continue to successfully penetrate new
          markets while increasing the number of our innovative and player-favorite
          games on slot floors in the Company's more established markets.

          34.    Subsequently, the Company announced that for the most recent quarter ended

June 2014, revenue from gaming operations increased by 11% from the same period last year, to

a record $38 million. Total revenue was also up $2.2 million.

          35.    Commenting on the 2014 fiscal third quarter financial results, defendant Ramsey

stated:

          Our 2014 fiscal third quarter financial results are in-line with our previously
          stated expectations and highlight the Company's ability to introduce differentiated
          games that are helping us to further grow our presence on casino slot floors
          despite the challenging North American gaming environment… Our gaming
          operations business continues to be a source of strength for Multimedia Games, as
          our installed base grew by 1,004 units year over year and by 415 units on a
          quarterly sequential basis to reach 13,167 total units. Our higher-yielding
          premium participation games continue to achieve notable success, with the
          installed base of our premium games growing by 118 units in the quarter to reach
          1,288 total units, or approximately 10% of our total installed base… We believe
          our third quarter results again demonstrate the Company's ability to create games
          that excite players and deliver value to operators, and we remain focused on
          further growing our overall share of North American slot floors. Our new
          premium participation products are expected to drive further growth in our
          installed base and win per day going forward and represent a key piece of our
          long-term strategy. We are also pursuing initiatives that will enable us to deliver
          high levels of player satisfaction and generate continued top- and bottom-line
          growth, including investments in new product development and in our installed
          base as well as the completion of the PokerTek transaction.




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       36.    In sum, Multimedia Games is well positioned to generate significant earnings in

the foreseeable future spurred by its rapidly expanding customer base in major markets,

increasingly popular products, and innovative gaming content. Despite Multimedia Games’

bright financial prospects, the Board has now agreed to sell the Company at a price below its

intrinsic value to the detriment of Multimedia Games’ common shareholders.

B.     The Proposed Transaction Undervalues Multimedia Games Shares

       37.    On September 8, 2014 Multimedia Games and GCA issued a press release

announcing the Proposed Transaction, which states in relevant part:

       Las Vegas, NV and Austin, TX — September 8, 2014 — Global Cash Access
       Holdings, Inc. (NYSE: GCA) and Multimedia Games Holding Company, Inc.
       (“Multimedia Games”) (Nasdaq: MGAM) announced today that they have
       entered into a merger agreement whereby GCA has agreed to acquire all the
       outstanding common stock of Multimedia Games for $36.50 per share, for an
       aggregate purchase price of approximately $1.2 billion in cash. The transaction
       has been unanimously approved by the boards of directors of the two companies.

       “The acquisition of Multimedia Games represents a gaming-relevant
       transformational opportunity to combine two companies with rich gaming
       heritages and uniquely positions GCA as an important strategic partner to gaming
       operators by offering them deeper and more integrated solutions across their
       entire gaming floor,” remarked Ram V. Chary, President and Chief Executive
       Officer of GCA. “This acquisition further strengthens and broadens GCA’s
       portfolio of solutions, which has been embraced by our customer base,” added
       Mr. Chary.

       Patrick J. Ramsey, Chief Executive Officer of Multimedia Games, noted, “We are
       excited about the opportunity this combination provides to leverage Multimedia
       Games’ creative and innovative game development capabilities with GCA’s
       expansive customer base to provide best-in-class, integrated solutions to the
       gaming community, and deliver increased value and scale to our respective
       customers and employees.”


       Transaction Highlights

       Pursuant to the merger agreement, GCA will acquire all of the outstanding stock
       of Multimedia Games for $36.50 per share in cash, representing a 31% premium
       to the closing stock price as of Friday, September 5, 2014, for an aggregate
       purchase price of approximately $1.2 billion. The proposed acquisition will be


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       financed with debt and cash on hand for which GCA has secured committed debt
       financing. The proposed acquisition is subject to customary closing conditions,
       including receipt of MGAM shareholder approval and antitrust and gaming
       regulatory approvals, and is currently expected to be completed in early 2015.

       The merger is expected to achieve approximately $30 million of synergies as a
       combined entity; and, on a pro forma basis, is estimated to generate about $800
       million in revenues and approximately $217 million in Adjusted EBITDA based
       on the last twelve months results as of June 30, 2014. The transaction is expected
       to be immediately accretive to GCA stockholders as of the closing date of the
       acquisition.

       Ram V. Chary will continue to serve as President and Chief Executive Officer of
       GCA. The combined company’s headquarters will remain in Las Vegas, NV and
       its game development operations will be based in Austin, TX.

       Advisory Partners

       The advisory partners for Global Cash Access included: BofA Merrill Lynch as
       its exclusive advisor on financial matters; and Pillsbury Winthrop Shaw Pittman
       and DLA Piper as advisors on legal matters. The advisory partners for Multimedia
       Games included: Wells Fargo Securities as its exclusive advisor on financial
       matters; and Latham & Watkins as advisor on legal matters.

       BofA Merrill Lynch and Deutsche Bank have agreed to provide committed debt
       financing to Global Cash Access for the proposed acquisition.

       38.     The $36.50 per share total Merger Consideration Multimedia Games’ public

shareholders stand to receive is insufficient, as it fails to account for the Company’s significant

future earning potential and falls well below the $40 to $45 per share price analysts expected the

Company’s shareholders to receive in connection with a merger.

       39.     Indeed, as one analyst recently wrote, “[t]he company's strengths can be seen in

multiple areas, such as its revenue growth, largely solid financial position with reasonable debt

levels by most measures, expanding profit margins and notable return on equity.”4


4
 Scott Olson, Today’s Perilous Reversal Stock: Multimedia Games (MGAM), THE STREET, August 4,
2014, http://www.thestreet.com/story/12832124/1/todays-perilous-reversal-stock-multimedia-games-
mgam.html.




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        40.     Further, Multimedia Games has only recently acquired licenses to operate in

major markets including Nevada, New Jersey, Oregon, Pennsylvania, Illinois, Mississippi,

Louisiana and Canada. Industry analysts have stated that “Multimedia Games appears on the

cusp [of] cracking the manufacturing sector’s upper echelon.”5 Indeed, as one financial reporter

wrote, “[t]he growth opportunity in Multimedia Games is large. In Nevada, Pennsylvania, New

Jersey, and Oregon, the company has less than a 0.5% market share. According to [an analyst] if

Multimedia were to capture 3% of the market in those states, it would translate into 6,500 game

sales. [The analyst] sees the installed base climbing to 14,000 games by the end of 2015, with

operating revenue up 11% this year and 9% in 2015.”6

        41.     In sum, Multimedia Games is poised to enjoy a lengthy period of significant

growth, and the Proposed Transaction stands to prevent the Company’s shareholders from

attaining fair value for their shares.

C.      The Windfall to the Individual Defendants

        42.     The Proposed Transaction was also likely driven by the self-interest of certain

Individual Defendants and the Company’s officers. As a result of the consummation of the

Proposed Transaction, certain Multimedia Games officers and directors will receive lucrative

change in control payments not shared by other shareholders.




5
 Howard Stutz, Gambling’s expansion has Multimedia Games on cusp of cracking manufacturing’s
upper echelon, LAS VEGAS REVIEW-JOURNAL, August 5, 2013, http://www.reviewjournal.com/business/
casinos-gaming/gamblings-expansion-has-multimedia-games-cusp-cracking-manufacturings-upper.
6
 David Englander, Multimedia Games Holdings: A Slot-Machine Maker Worth a Bet, BARRON’S,
September 6, 2014, http://online.barrons.com/news/articles/
SB51885783724964273656104580129901573015476.



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       43.      The aforementioned lucrative payments cast further doubt that the process leading

up to the announcement of the Proposed Transaction was fair to Multimedia Games’

shareholders.

D.     The Preclusive Deal Protection Devices

       44.      In addition to failing to engage in a fair and reasonable sales process, the

Individual Defendants, likely driven by their own personal interests, agreed to certain deal

protection devices that operate conjunctively to deter other suitors from submitting a superior

offer for the Company.

       45.      First, the Merger Agreement provides for an onerous no solicitation provision that

prohibits the Company or the Individual Defendants from taking any affirmative action to

comply with their fiduciary duties to obtain the best price possible under the circumstances.

Specifically, section 6.5 of the Merger Agreement states that the Company and the Individual

Defendants shall not:

       (i) initiate, solicit or knowingly encourage or facilitate (including by way of
       providing non-public information) the making of any Acquisition Proposal or any
       inquiry, proposal or request for information that may reasonably be expected to
       lead to an Acquisition Proposal, or

       (ii) other than informing Third Parties of the existence of the provisions contained
       in this Section 6.5, engage in negotiations or substantive discussions with, or
       furnish any nonpublic information to, any Third Party relating to an Acquisition
       Proposal or any inquiry, proposal or request for information that may reasonably
       be expected to lead to an Acquisition Proposal.

       46.      Furthermore, Section 6.5 of the Merger Agreement grants GCA recurring and

unlimited matching rights, which provides GCA with: (i) unfettered access to confidential, non-

public information about competing proposals from third parties which GCA can use to prepare a

matching bid; and (ii) four business days to negotiate with Multimedia Games, amend the terms

of the Merger Agreement, and make a counter-offer in the event a superior offer is received.



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        47.       The non-solicitation and matching rights provisions unfairly deter superior

bidders from making a fair offer for the Company, as many will be hesitant to expend the time,

cost, and effort of making a superior proposal while knowing that GCA can easily foreclose a

competing bid. As a result, these provisions unreasonably favor GCA, to the detriment of

Multimedia Games’ public shareholders.

        48.       Lastly, section 8.3 of the Merger Agreement provides that Multimedia Games

must pay GCA a termination fee of either $11 million in the event the Company is able to

finalize the terms of a deal with a superior bidder before October 8, 2014, or a fee of $32.5

million in the event the Company elects to terminate the Merger Agreement to pursue a superior

proposal after October 8, 2014. Further, this section provides that the Company may remain

obligated to pay the $32.5 million termination fee in the event the Merger Agreement is

terminated by either the Company or GCA under certain circumstances and the Company then

enters into a transaction with another suitor within nine months.         These termination fee

provisions further deter other suitors from making a superior proposal for the Company, as they

will have to pay a naked premium for the right to provide Multimedia Games’ shareholders with

a better offer.

        49.       Ultimately, these deal protection provisions restrain the Company’s ability to

solicit or engage in negotiations with any third party regarding a proposal to acquire all or a

significant interest in the Company.

E.      The Incomplete & Materially Misleading Proxy

        50.       On September 30, 2014, Multimedia Games filed the Proxy with the SEC in

connection with the Proposed Transaction.         The Proxy fails to provide the Company’s

shareholders with material information concerning both the process leading up to the

consummation of the Merger Agreement and the financial analyses Wells Fargo performed in


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support of its Fairness Opinion. As a result of the incomplete and misleading Proxy, Multimedia

Games’ shareholders will be unable to make an informed decision concerning whether to vote

for or against the Merger.

       I.        Materially Incomplete and Misleading Disclosures Concerning the
                 Background of the Proposed Transaction

       51.       Specifically, the Proxy fails to provide material information concerning the

process conducted by the Board and the events leading up to the signing of the Merger

Agreement. In particular, the Proxy fails to disclose the following information:

       a. The identities of the “13 additional parties” Banker 1 contacted to gauge their interest

             in a potential acquisition between May and July 2013 (See Proxy at 35);

       b. Whether the Board and/or Banker 1 discussed a particular premium that it sought

             when they informed Bidder B that its $25 per share offer was insufficient (See Proxy

             at 36);

       c. A fair summary of the process the Board undertook to pursue strategic transactions

             between August 28, 2013, the date Bidder C informed the Board it would not make a

             higher offer, and May 2014 (See Proxy at 36);

       d. A fair summary of the relationship between the representatives of Bidder D that were

             involved in the process and the Individual Defendants or Company management,

             including defendant Ramsey (See Proxy at 36);

       e. The reason why the Board did not contact Banker 1 concerning engagement as its

             financial advisor in connection with the Proposed Transaction, even though the Board

             had previously engaged Banker 1 regarding a potential transaction with Bidder A (See

             Proxy at 37);




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f. A fair summary of the “preliminary financial analysis of the company” that Wells

   Fargo reviewed with the Board on July 29, 2014 (See Proxy at 37);

g. A fair summary of the communications Ramsey received from Bidder A and GCA, as

   he provided to the Board during the August 2, 2014 special telephonic meeting (See

   Proxy at 38);

h. A fair summary of the “strategies designed to maximize shareholder value” that the

   Board discussed during its August 2, 2014 special telephonic meeting (See Proxy at

   38);

i. The terms of the “preliminary proposal” that Mr. Ramsey discussed with Mr. Chary

   on August 2, 2014 (See Proxy at 38);

j. The reason why the Board felt it was necessary to circulate a formal memorandum

   regarding “confidentiality, neutrality, and [the Board’s] managing role in the process

   of negotiating a strategic transaction” on August 8, 2014, despite the fact that the

   Board had already previously instructed management on these issues in 2013 and

   May 2014 (See Proxy at 38);

k. The reason why the Board decided on August 15, 2014 to focus on negotiations with

   Bidder D and GCA rather than make additional outbound inquires (See Proxy at 39);

l. A fair description of the “certain provisions unique to a financial sponsor” that were

   included in the draft merger agreement delivered to Bidder D on August 28, 2014, as

   such provisions were not included in the draft merger agreement provided to GCA

   (See Proxy at 41);

m. A summary of the jurisdictions in which the Board believed a gaming license would

   be required to complete a transaction with both Bidder D and GCA, and the specific




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   number of jurisdictions that both Bidder D and GCA were licensed in as of August,

   2014, which is material to the Company’s shareholders in light of the fact that the

   Proxy makes repeated references to the fact that a transaction with Bidder D was

   expected to “require a significant delay before closing” as a result of the fact that it

   was not licensed in nearly as many jurisdictions as GCA (See Proxy at 39, 40, 46);

n. A fair summary of the Board’s and Wells Fargo’s discussion concerning the “risk that

   the maximum contingent consideration would not be paid” in connection with Bidder

   D’s offers, which is material to the Company’s shareholders because this “risk”

   served as the basis for the Board’s conclusion that Bidder D’s offer of potentially

   greater consideration did not warrant further exploration after August 28, 2014 (See

   Proxy at 39, 41);

o. The reason why the Board and/or Wells Fargo failed to engage in any further

   discussions with Bidder D after it communicated to Wells Fargo on August 28, 2014

   that it was not willing to provide a revised draft of the merger agreement unless it was

   granted exclusivity or Multimedia Games agreed to reimburse its expenses, or if any

   further discussion with Bidder D did occur, a fair summary of such discussions (See

   Proxy at 41);

p. Details concerning the ticking fee that was included in the draft merger agreement

   Latham & Watkins sent to GCA on September 3, 2014, including the amount the fee

   would increase the per share consideration if the closing of the Proposed Transaction

   was delayed, and the date or time period by which the Proposed Transaction needed

   to be completed by in order to prevent the ticking fee provision from becoming

   effective (See Proxy at 41);




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q. A fair summary of the substance of the conversation between Mr. Ramsey and Mr.

      Chary on September 4, 2014, during which they agreed to terminate negotiations,

      including if there was any discussion concerning the possibility of reopening

      negotiations under certain circumstances (See Proxy at 42);

r. The reason why the Board set an arbitrary deadline of September 8, 2014 as the date

      by which management and Latham &Watkins had to “continue to negotiate to

      improve the terms of the GCA proposal and finalize the merger agreement,” (See

      Proxy at 42);

s. A fair summary of what the “remaining open issues” that were “negotiated and

      resolved” between Multimedia Games’ and GCA’s respective representatives during

      the course of September 6 and 7, 2014 (See Proxy at 43);

t. The identity of the members of Multimedia Games’ Regulatory Compliance

      Committee, and a summary of the interests that members of the Committee have in

      the Proposed Transaction that may be different from or in addition to the interests of

      Multimedia Games’ shareholders (See Proxy at 43); and

u. A fair summary of the “findings of suitability” the Multimedia Games’ Regulatory

      Compliance Committee delivered to the Board in connection with its consideration of

      the Merger Agreement (See Proxy at 43).




II.      Materially Incomplete and Misleading Disclosures Concerning Wells Fargo’s
         Financial Analyses




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        52.      While the Proxy discloses certain information regarding the financial analyses

Wells Fargo performed to support its Fairness Opinion, the information is incomplete and

misleading because it fails to provide, amongst other things, the following:

        53.      With respect to Wells Fargo’s Selected Public Companies Analysis, the Proxy

fails to disclose:

        a. The metrics for each of the three companies used in the analysis, as opposed to only

              the range of the lowest to highest metrics (See Proxy at 54);

        b. The basis for selecting September 5, 2014, as the date on which Scientific Games

              Corporation’s stock closing price was used in connection with the analysis, as

              opposed to a date prior to the time Scientific Games announced its acquisition of

              Bally Technologies, Inc. (“Bally”), as the dates selected for both Bally and

              International Game Technology were each prior to the announcement of their

              respective transactions (See Proxy at 53); and

        c. The financial multiples for certain publicly traded international gaming equipment

              manufacturing companies, including Ainstworth Game Technology Ltd., Aristocrat

              Leisure Ltd. And GTECH S.p.A., which Wells Fargo reviewed in connection with its

              analysis (See Proxy at 54).

        54.      With respect to Wells Fargo’s Precedent Transaction Analysis, the Proxy fails to

disclose:

        a. The mean and median multiples in connection with the range of multiples calculated

              for the transaction firm value as a multiple of LTM, EBITDA for the target (See

              Proxy at 55);




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       b. The mean and median multiples in connection with the range of multiplies calculated

             for the purchase price as a multiple of LTM EPS for the target (See Proxy at 55);

       c. The basis for selecting a 2014E EBITDA multiple range of 6.6x to 10.5x (See Proxy

             at 55);

       d. The basis for selecting a 2014E Net Income multiple range of 16.9x to 21.0x (See

             Proxy at 55); and

       e. The mean and median implied equity values per share in connection with the

             calculated ranges of $27.33 to $41.30 and $20.51 to $25.34 (See Proxy at 55).

       55.       With respect to Wells Fargo’s Discounted Cash Flow Analysis (“DCF”), the

Proxy fails to disclose:

       a. The net present value of the projected after-tax unlevered free cash flows for

             Multimedia Games for the fiscal years 2015 through 2019, as calculated by Wells

             Fargo in connection with its DCF analysis (See Proxy at 55);

       b. Multimedia Games’ weighted average cost of capital (“WACC”) and a fair summary

             of the “standard corporate finance methodologies” that Wells Fargo used to calculate

             WACC (See Proxy at 55);

       c. Multimedia Games’ estimated book value of debt less cash and cash equivalents as of

             September 30, 2014, which was utilized by Wells Fargo in connection with its DCF

             analysis (See Proxy at 55); and

       d. The number of fully diluted shares outstanding utilized by Wells Fargo to calculate a

             range of implied per share values for Multimedia Games (See Proxy at 56).

       56.       The Proxy also fails to disclose the following miscellaneous material information:




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       a. The mean and median of the range of the $29.00 to $39.00 stock price targets that

             Wells Fargo observed and referenced in connection with its financial analysis (See

             Proxy at 56);

       b. The amount or portion of Wells Fargo’s $10.4 million fee that was payable upon

             delivery of its opinion and the amount or portion of Wells Fargo’s fee that is payable

             upon consummation of the Merger (See Proxy at 56). This information is particularly

             important given that the Board, upon advice from Wells Fargo, decided to end

             negotiations with another bidder whose offer may have represented a higher offer

             price but which presented more closing uncertainty; and

       c. The dollar value of the vested stock options and restricted stock units held by each of

             the Individual Defendants (See Proxy at 60).

       57.      In sum, the Individual Defendants have breached their fiduciary duties owed to

Multimedia Games’ shareholders.        The Board failed to obtain reasonable consideration for

Multimedia Games’ shareholders, agreed to onerous deal protection devices that may prevent the

emergence of a superior offer, failed to provide the Company’s shareholders with material

information concerning the Proposed Transaction that is necessary for shareholders to cast an

informed vote on the Merger, and likely put their own personal interests ahead of those of

Multimedia Games’ shareholders while negotiating the terms of the Proposed Transaction.

       58.        As a result of the aforementioned breaches of fiduciary duty, Plaintiff seeks

injunctive and other equitable relief to prevent the irreparable injury that Company shareholders

will continue to suffer absent judicial intervention.




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                                    CLAIMS FOR RELIEF

                                            COUNT I

             On Behalf of Plaintiff and the Class Against the Individual Defendants
                                 for Breach of Fiduciary Duties

       59.      Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       60.      The Individual Defendants have violated fiduciary duties of care, loyalty, good

faith, and candor owed to Multimedia Games’ shareholders.

       61.      By the acts, transactions, and courses of conduct alleged herein, Defendants,

individually and acting as a part of a common plan, are attempting to unfairly deprive Plaintiff

and other members of the Class of the true value of their investment in Multimedia Games.

       62.      As demonstrated by the allegations above, the Individual Defendants failed to

exercise the care required, and breached their duties of loyalty, good faith, independence, and

candor owed to Multimedia Games shareholders because, among other reasons, they failed to

take reasonable steps to obtain and/or ensure that Multimedia Games’ shareholders receive

adequate consideration for their shares, agreed to restrictive deal protection devices that deter

other suitors from making a superior bid for the Company, and caused a materially incomplete

and misleading Proxy concerning the Proposed Transaction to be filed with the SEC.

       63.      By reason of the foregoing acts, practices, and courses of conduct, the Individual

Defendants have failed to exercise ordinary care and diligence in the exercise of their fiduciary

obligations toward Plaintiff and the other members of the Class.

       64.      As a result of the actions of Defendants, Plaintiff and the Class will suffer

irreparable injury in that they have not and will not receive their fair portion of the value of

Multimedia Games’ assets and businesses, have been and will be prevented from obtaining a fair



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price for their Multimedia Games common shares, and will not be able to cast an informed vote

the Proposed Transaction.

       65.      Unless the Court enjoins Defendants, they will continue to breach their fiduciary

duties owed to Plaintiff and the members of the Class, all to the irreparable harm of the members

of the Class.

       66.      Plaintiff and the members of the Class have no adequate remedy at law. Only

through the exercise of this Court’s equitable powers can Plaintiff and the Class be fully

protected from the immediate and irreparable injury that Defendants’ actions threaten to inflict.

                                            COUNT II

On Behalf of Plaintiff and the Class Against Multimedia Games, GCA, and Merger Sub for
      Aiding and Abetting the Individual Defendants’ Breaches of Fiduciary Duty

       67.      Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       68.      Multimedia Games, GCA, and Merger Sub have acted and are acting with

knowledge of, or with reckless disregard to, the fact that the Individual Defendants are in breach

of their fiduciary duties to Multimedia Games’ shareholders, and have participated in such

breaches of fiduciary duties.

       69.      Multimedia Games, GCA, and Merger Sub knowingly aided and abetted the

Individual Defendants’ wrongdoing alleged herein. In so doing, Multimedia Games, GCA, and

Merger Sub rendered substantial assistance in order to effectuate the Individual Defendants’ plan

to consummate the Proposed Transaction in breach of their fiduciary duties.

                                           COUNT III

       On Behalf of Plaintiff for Violations of Sections 14(a) and of the Exchange Act
                       Against the Company and the Individual Defendants

       70.      Plaintiff brings this Exchange Act claim on behalf of himself as an individual.


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       71.     Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       72.     Defendants have issued the Proxy with the intention of soliciting shareholder

support for the Proposed Transaction.

       73.     Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that such communications with shareholders shall not contain “any statement

which, at the time an in the light of the circumstances under which it is made, is false or

misleading with respect to any material fact, or which omits to state any material fact necessary

in order to make the statements therein not false or misleading.” 17 C.F.R. §240.14a-9.

       74.     Specifically, the Proxy violates Section 14(a) and Rule 14a-9 because it omits

material facts as set forth supra. Moreover, in the exercise of reasonable care, Defendants

should have known that the Proxy is materially misleading and omits material facts that are

necessary to render it non-misleading.

       75.     The misrepresentations and omissions in the Proxy are material to Plaintiff, who

will be deprived of his entitlement to cast a fully informed vote if such misrepresentations and

omissions are not corrected prior to the vote on the Proposed Transaction. As a direct and

proximate result of Defendants’ conduct, Plaintiff will be irreparably harmed.

                                               COUNT IV

          On Behalf of Plaintiff for Violations of Section 20(a) of the Exchange Act
                                  Against the Individual Defendants

       76.     Plaintiff brings this Exchange Act claim on behalf of himself as an individual.

       77.     Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.




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       78.       The Individual Defendants acted as controlling persons of Multimedia Games

within the meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their

positions as officers and/or directors of Multimedia Games, and participation in and/or

awareness of the Company’s operations and/or intimate knowledge of the false statements

contained in the Proxy filed with the SEC, they had the power to influence and control and did

influence and control, directly or indirectly, the decision making of the Company, including the

content and dissemination of the various statements which Plaintiff contends are false or

materially incomplete and therefore misleading.

       79.       Each of the Individual Defendants were provided with or had unlimited access to

copies of the Proxy and other statements alleged by Plaintiff to be misleading prior to and/or

shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.

       80.       In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have

had the power to control or influence the particular transactions giving rise to the securities

violations alleged herein, and exercised the same. The Proxy at issue contains the unanimous

recommendation of each of the Individual Defendants to approve the Merger.            Thus, the

Individual Defendants were intimately connected with and directly involved in the making of

this document.

       81.       In addition, as the Proxy sets forth at length, and as described herein, the

Individual Defendants were each involved in negotiating, reviewing, and approving the Merger.

The Proxy purports to describe the various issues and information that the Individual Defendants




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reviewed and considered. The Individual Defendants participated in drafting and/or gave their

input on the content of those descriptions.

       82.      By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       83.      As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and SEC Rule

14a-9, by their acts and omissions as alleged herein. By virtue of their positions as controlling

persons, these defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct

and proximate result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.

       84.      Plaintiff has no adequate remedy at law.

                                     RELIEF REQUESTED

       WHEREFORE, Plaintiff demands judgment against Defendants jointly and severally, as

follows:

       A.       Declaring this action to be a Class Action and certifying Plaintiff as the Class

representative and his counsel as Class counsel;

       B.       Enjoining Defendants, their agents, counsel, employees, and all persons acting in

concert with them from consummating the Proposed Transaction, unless and until the Company

adopts and implements a procedure or process to obtain a merger agreement providing the best

possible terms for the Company’s shareholders and discloses all material information regarding

the Proposed Transaction;

       C.       Rescinding, to the extent already implemented, the Proposed Transaction or any

of the terms thereof, or granting Plaintiff and the Class rescissory damages;

       D.       Directing the Defendants to account to Plaintiff and the Class for all damages

suffered as a result of the Individual Defendants’ wrongdoing;


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       E.       Awarding Plaintiff the costs and disbursements of this action, including

reasonable allowance for attorneys’ and expert fees and expenses; and

       F.       Granting Plaintiff and other members of the Class such further relief as this Court

may deem just and proper.

                                        JURY DEMAND

       Plaintiff demands a trial by jury.

DATED: October 3, 2014.                            Respectfully submitted

                                                          /s/ Thomas E. Bilek
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